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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                        Case No. 1:16-cv-1534-JEB
                                        (and Consolidated Case Nos. 16-cv-1796
                Plaintiff,
                                        and 17-cv-267)
     and

CHEYENNE RIVER SIOUX TRIBE,

                Plaintiff-Intervenor,
     v.

U.S. ARMY CORPS OF ENGINEERS,

                Defendant-Cross
                Defendant,

     and

DAKOTA ACCESS, LLC,

                Defendant-Intervenor-
                Cross Claimant.



            MOTION TO COMPLETE ADMINISTRATIVE RECORD




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                                         INTRODUCTION

       Plaintiffs Standing Rock Sioux Tribe (“SRST”), Cheyenne River Sioux Tribe (“CRST”),

Oglala Sioux Tribe, and Yankton Sioux Tribe (collectively, “Tribes”) hereby submit this

consolidated motion to compel production of a complete administrative record. The Tribes are

disappointed that after more than a year of work to produce a deeply flawed remand decision,

and several months more to produce an initial administrative record, the Corps has lodged a

fragmented and incomplete record that fails to meet the requirements of the law and masks key

information essential to this Court’s review on remand. As documented further below, the

record is deficient in at least five ways: a) it fails to include studies and technical documents

cited to and relied on by the Corps in the Remand Analysis and its two key supporting

documents; b) it excludes documents that were omitted from the original administrative record,

even though the Tribes specifically asked for them; c) it excludes documents that the easement

requires Dakota Access, LLC (“DAPL”) to submit to the Corps which are pertinent to the risks

posed at Lake Oahe; d) it excludes documents related to the independent third party audit carried

out at the direction of this Court; and e) it includes drafts of documents, but not the final versions

that may exist.

       The Tribes identified these concerns about the scope of the record prior to the submission

of the record, identifying numerous specific documents that should be included. The Corps

never responded to the Tribes’ concerns, and failed to include many of these documents in the

record. Accordingly, the Tribes ask this Court to order the Corps to complete the record with the

documents identified in this memorandum and accompanying proposed order.




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                                         BACKGROUND

       In June of 2017, this Court found that the Corps’ National Environmental Policy Act

(“NEPA”) review for the Lake Oahe crossing of the pipeline was flawed in three “significant”

respects. ECF 239. The three topics on which the Court found the Corps fell short were all

issues within the special expertise of the Tribes: the input of its technical experts; the impact of

an oil spill on the Tribes’ Treaty rights; and the environmental justice implications of siting the

pipeline at the edge of an Indian reservation. In a contemporaneous order, this Court remanded

the challenged permits back to the Corps “for further analysis.” ECF 238. The Court

subsequently declined to vacate the permit during the remand process, but admonished the Corps

not to treat the process as a “bureaucratic formality.” ECF 284 (“the Court expects the Corps not

to treat remand as an exercise in filling out the proper paperwork post hoc”). The Corps

originally estimated that the remand process would be complete by April 2 of 2018. ECF 326.

However, a two-page decision announcing the Corps’ decision on remand was not issued until

August 31, 2018 (ECF 362-1) (“Remand Decision”), and the Corps’ analysis supporting that

decision was not provided to the Tribes until mid-October. Once the remand was complete, all

four Tribes filed amended complaints challenging the Remand Decision.

       While the remand was underway, the availability of underlying technical documents and

the scope of the future administrative record was a key concern of the Tribes. SRST filed a

motion describing its many efforts to obtain key technical documents from the Corps so that it

could participate meaningfully in the remand. ECF 336. The motion was accompanied by a

declaration from one of SRST’s technical experts explaining why it was critical for the Tribe to

be able to see the technical basis for the Corps’ worst-case discharge and other spill risk

calculations. 2nd Declaration of Don Holmstrom (ECF 342-1). CRST also filed a motion to


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compel meaningful consultation during the remand. ECF 328. One key issue in these motions

was the independent assessment ordered by this Court as an interim condition. ECF 349-2

(“Audit”). This Court denied those motions as moot in light of the completion of the remand

conditions, including the Audit, but observed that issues with respect to the remand were likely

to be litigated once the remand was complete. ECF 352.

       The Corps’ two-page Remand Decision is supported by a lengthier analysis that provides

the technical basis for the Corps’ conclusions (“Remand Analysis”). RAR 0003. 1 In turn, the

Remand Analysis is supported by three key supporting documents: the “Submission Review,”

(RAR 141) which responded to submissions from the Tribes; the “Downstream Receptor

Report,” (RAR 2739) which looked at the impacts of spilled oil downstream from the pipeline

site; and the “Spill Model Report,” which analyzed the risks and estimated the size of potential

oil spills. RAR 8743. For example, the Remand Analysis cites to the Downstream Receptor

Report no fewer than 92 times, and cites to the Spill Model Report 121 times.

       Once the Tribes had the opportunity to review the Remand Analysis, concerns about the

scope of the record grew. SRST initiated correspondence via counsel with the Corps regarding

its concerns about the future administrative record. Declaration of Jan Hasselman, Ex. 1. The

letter highlighted the importance of the key supporting documents listed above; asked for all

documents that DAPL is required to submit to the Corps under the terms of the easement, as well

as documents underlying the Audit; identified a number of documents missing from the original

administrative record; and asked for a number of additional key technical documents that the

Tribe had reason to believe existed and that were key to this Court’s review of the Corps’


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  Pursuant to L.R. 7(n), plaintiff Tribes and federal defendants have agreed to file an index
including all citations to the administrative record on remand (“RAR”) at the conclusion of this
briefing.
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decisions on remand. As has been typical throughout the history of this case, however, the Corps

ignored the Tribe’s letter. Instead, it notified the Court that it had served the administrative

record, which includes documents potentially deemed sensitive and subject to protective order,

on February 5, 2019. ECF 398. Because the record is incomplete in critical respects identified

in the SRST correspondence, this motion followed.

                                           ARGUMENT

       It is axiomatic that review of agency decisions under the Administrative Procedure Act

(“APA”) requires the “whole record” that was before the agency. The complete administrative

record includes all material that the agency considered, either directly or indirectly. Here, the

agency directly or indirectly considered and referenced a number of studies, memoranda, emails,

and reports when making its decision that it did not include in the administrative record. It also

omitted relevant documents from the record that were surely before the Corps at the time it made

its decision, such as records DAPL is required to file under the terms of the easement. It also

failed to include documents specifically identified by the Tribes that were never included in the

original administrative record filed in support of its initial, unlawful decision to grant the permits

and easement without an environmental impact statement (“EIS”).

       These documents bear directly on the validity of the agency action being challenged in

this case—the Corps’ decision to affirm its original decision reversing the notice of intent to

prepare an EIS and concluding that the impacts of the Dakota Access Pipeline at Lake Oahe were

so “insignificant” that no EIS was necessary. The record already shows that the Remand

Analysis is not a good faith and transparent analysis of the complex and highly contested issues

at the heart of this question. It reveals that the Corps drafted the conclusion of its remand

analysis in February of 2018, before they had even received the Tribes’ remand submissions.


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RAR 10203. The draft memo states that the Corps “has identified no new information” that the

agency had not already considered, and that “decisions made by the USACE were in accordance

with the law and neither arbitrary nor capricious.” Id. Instead, the Remand Analysis is a legal

brief designed for one purpose: to withstand judicial review by this Court. The Corps has

prepared the administrative record in the same spirit. This Court should direct the Corps to

complete the record as discussed further below.

I.     LEGAL STANDARD FOR MOTIONS TO COMPLETE THE RECORD

       Review of the Remand Decision by this Court is guided by the APA, which requires a

court to hold unlawful and set aside final agency action that is arbitrary, capricious, or otherwise

not in accordance with law. 16 U.S.C. § 1855(f)(1)(B); 5 U.S.C. § 706(2)(A). Agency action is

unlawful if the agency “relied on factors which Congress has not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency,” or if the agency has not drawn “a rational

connection between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted). To make these

determinations, courts are required to engage in a “thorough, probing, in-depth review” of

agency action. Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 415 (1971). That

careful review is particularly important where the agency has engaged in an analysis of technical

information:

       The close scrutiny of the evidence is intended to educate the court. It must understand
       enough about the problem confronting the agency to comprehend the meaning of the
       evidence relied upon and the evidence discarded; the questions addressed by the agency
       and those bypassed; the choices open to the agency and those made. The more technical
       the case, the more intensive must be the court’s effort to understand the evidence . . .

Ethyl Corp. v. EPA, 541 F.2d 1, 36 (D.C. Cir. 1976) (en banc). Courts “do not hear cases


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merely to rubber stamp agency actions.” Nat. Res. Def. Council, Inc. v. Daley, 209 F.3d 747,756

(D.C. Cir. 2000).

        To engage in the “in-depth review” required to determine whether the agency’s decisions

comply with these standards, the Court “shall review the whole record” that was actually before

the agency. Nat. Res. Def. Council, Inc. v. Train, 519 F.2d 287, 291 (D.C. Cir. 1975). “The

‘whole record’ includes everything that was before the agency pertaining to the merits of its

decision.” Portland Audubon Soc’y v. Endangered Species Comm., 984 F.2d 1534, 1548 (9th

Cir. 1993) (citation omitted) (“An incomplete record must be viewed as a ‘fictional account of

the actual decision-making process.’ . . . If the record is not complete, then the requirement that

the agency decision be supported by ‘the record’ becomes almost meaningless.”) (citation

omitted). “This Court has interpreted the ‘whole record’ to include ‘all documents and materials

that the agency ‘directly or indirectly considered’ . . . [and nothing] more nor less.’” Pac. Shores

Subdivision, Cal. Water Dist. v. U.S. Army Corp. of Eng’rs, 448 F. Supp. 2d 1, 5 (D.D.C. 2006).

(alterations in original) (citations omitted). The agency “may not skew the record in its favor by

excluding pertinent but unfavorable information.” Fund for Animals v. Williams, 391 F. Supp.

2d 191, 197 (D.D.C. 2005); see also Thompson v. U.S. Dep’t of Labor, 885 F.2d 551, 555 (9th

Cir. 1989) (noting whole record “includes evidence contrary to the agency’s position”) (citation

omitted).

       There is a “presumption of regularity” that an agency properly designated the

administrative record in the first instance. Pac. Shores Subdivision, 448 F. Supp. 2d at 4. Even

so, a plaintiff can overcome this presumption by identifying “reasonable, non-speculative

grounds for its belief that the documents were considered by the agency and not included in the

record.” Id. at 6; accord Univ. of Col. Health at Memorial Hospital v. Burwell, 151 F. Supp. 3d

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1, 13 (D.D.C. 2015). This standard for when a party seeks “completion” of the record with

documents that were before the agency directly or indirectly is different than the standard for

when a record should be “supplemented” with extra-record evidence that was never before the

agency in the first place. 2 Courts in this Circuit sometimes use the same language to describe

both scenarios, leading to “‘some confusion’ about the proper test to apply.” Burwell, 151 F.

Supp. 3d at 13. Courts should distinguish between “completion” of the record—in which there is

no obligation to demonstrate “unusual circumstances”—and “supplementation” of the record

with extra-record evidence, in which there is. Oceana, Inc. v. Ross, 290 F. Supp. 3d 73, 79

(D.D.C. 2018). This Court already has recognized this distinction, for example, specifically

differentiating at the last status conference the process for inclusion of “extra-record” evidence

from the process for determining whether the record is complete. Transcript of Status

Conference, Dec. 12, 2018, Hasselman Decl., Ex. 2 at 6-7. As discussed below, the Tribes more

than meet the standard of articulating “reasonable, non-speculative grounds” to show that

relevant documents exist that were considered by the Corps but not included in the record. 3

II.    THE REMAND RECORD IS INCOMPLETE IN KEY RESPECTS

       The Corps failed to compile an administrative record that included all evidence that it

directly or indirectly considered when it made its remand decision. Instead, it produced a




2
 A party seeking to supplement the record must show one of three circumstances: (1) that “the
agency deliberately or negligently excluded documents that may have been adverse to its
decision: (2) that “background information [is] needed to determine whether the agency
considered all the relevant factors,” or (3) that “the agency failed to explain administrative action
so as to frustrate judicial review.” Univ. of Colo. Health at Memorial Hosp., 151 F. Supp. 3d at
13.
3
  However, if Court finds that the Corps never considered, directly or indirectly, any evidence
listed below, the Tribes reserve the right to argue subsequently that the record should be
“supplemented” with the applicable material.
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fragmented and incomplete record designed to defend a flawed agency action, one that omits key

documents important to the Tribes’ legal challenge.

        A.      Sources Cited in Remand Analysis and its Two Key Supporting Documents.

        The Remand Analysis cites to and relies on a number of technical supporting documents

that are not in the record. For example, it cites the “EFRD Inspection and Test Plans,” and a

“DAPL Pipeline Surge Analysis Report” in explaining how risks of spills is reduced. RAR 122.

The report cites an ETP “Close Interval Survey” to “obtain cathodic protection potential

readings,” that DAPL claimed showed that its systems are operating in accordance with

regulations. RAR 128. These documents are not in the record. There is no way of determining

whether they support the conclusions that are claimed in the Remand Analysis or whether they

reveal key issues that the Corps failed to grapple with in its final decision.

        The Remand Analysis further cites to and relies on a “report” on pipeline spills that it

compiled from Pipeline and Hazardous Materials Safety Administration (“PHMSA”) data. Id. at

11-12. However, neither the report nor any of its underlying data is included in the record.

Instead, the Remand Analysis provides a website where, presumably, one could generate a new

report. Such a report would surely be objected to as “extra-record” if the Tribes were to submit

it.   In fact, the Remand Analysis cites to websites containing raw data in several places, but

doesn’t include that data in the record. See, e.g., RAR 70-71. It is well established that it is

insufficient to merely cite to a website in order to include a document in the record. City of

Duluth v. Jewell, 968 F. Supp. 2d 281, 293-94 (D.D.C. 2013). The Corps must include the

reports generated from these websites, and the data collected from them, in the record.

        The Remand Analysis also block quotes portions of the original environmental

assessment that, in turn, cite to studies or other technical reports that are not included in this


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record or the original one. Remand Analysis, at 8. As one example, the Remand Analysis cites

“O'Reilly et al. 2001” in its response to a comment from the Earthfax report that the Court

directed the Corps to consider on remand. Id. 8, 110. However, “O’Reilly et al 2001” is in

neither the Corps’ original record nor the record on remand. Whether or not this and similar

studies support the statements made in the Remand Analysis is anyone’s guess. Technical

citations from the EA cited in the Remand Analysis should also be included if they are not

already in the record.

       This same problem infects the two key supporting technical documents that support the

Remand Decision. The Downstream Receptor Report contains a list of references that runs for

twelve single-spaced pages, none of which are included in the record. For example, the report

cites numerous studies about how vegetation, fish, and other species react to spilled crude oil.

See, e.g., RAR 2756; 2765-68; 2790. This report’s findings, and even the cited studies

themselves, are explicitly incorporated into the Remand Analysis. See, e.g., RAR 42-43; 89-90.

The same is true with the “Spill Model Report,” which is cited over a hundred times in the

Remand Analysis. For example, the Spill Model Report cites numerous studies that purportedly

validate the model used in the report. RAR 8797. It reaches several conclusions about spilled

oil’s effect on wildlife by citing various technical studies. RAR 8818. None of this underlying

information is included in the record.

       A document “that is cited in the agency’s actual decision document indicates

‘consideration of the contents of the [] document’ by the decision-maker.” Pinnacle Armor, Inc.

v. United States, 923 F. Supp. 2d 1226, 1241-42 (E.D. Cal. 2013). While the Tribes do not seek

every reference cited anywhere in the administrative record, references in the Remand Analysis




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and its two key supporting documents—which effectively constitute the Corps’ NEPA analysis

on remand—must be included. In a closely similar situation, this Court recently held:

       If a document was substantively cited [in a NEPA document], the Service clearly
       considered that document. After all, to know what the document said the Service had to
       at least read it, and by citing the document to justify a substantive factual proposition, the
       Service is purporting to have relied on the document and its contents. As such, these
       documents were before the Service and belong in the administrative record.

Oceana, Inc. v. Ross, 290 F. Supp. 3d 73, 79 (D.D.C., 2018). The Court further ordered all

documents included as references in the EIS to be added to the record, even where they were

never specifically cited to justify any factual finding. Id. at 81 (“the Court concludes that the

inclusion of the documents in a reference list is a concrete, non-speculative basis upon which to

conclude that the Service considered them, directly or indirectly, in developing the EIS”); see

also Walter O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984) (“If a court

is to review an agency’s action fairly, it should have before it neither more nor less information

than did the agency when it made its decision.”)

       This Court should adhere to this standard and order the Corps to complete the record with

all sources cited in the Remand Analysis as well as the Downstream Receptor Report and Spill

Model Report. This includes the lists of references contained in the latter two documents, as

well as all information obtained or reports generated from websites.

       B.      Documents Missing from the Original Administrative Record.

       When SRST filed its motion for summary judgment in February of 2017, the Corps had

not yet filed an administrative record. ECF 117. Instead, the record was filed while summary

judgment briefing was already well underway. ECF 181. Accordingly, there was never an

opportunity for any plaintiff Tribe to challenge the scope or adequacy of the original

administrative record during the initial round of summary judgment motions. Once the remand


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began, the Tribes’ technical teams and outside experts were able to give more scrutiny to that

record, and identified several critical documents that were missing from it. For example, the

Tribes’ review of the original record was stymied by the absence of any “spill model” underlying

the Corps’ conclusions. 2nd Holmstrom Decl. ¶¶ 12-13 (ECF 343-1) (explaining importance of

spill model). However, the current record indicates that such a spill model existed at the time of

the original decision. See, e.g., RAR 12257 (“Previously, Dakota Access has conducted spill

modeling utilizing a software package called OILMAPLand.”); RAR 6565 (“You have the

original spill model with a worst case discharge of more than 12,000 barrels.”). The record

contained a copy of a spill “discussion” (USACE_DAPL 74092), but that document is not

actually a spill model and contains none of the information needed in one. See 2nd Holmstrom

Decl. ¶ 12-13 (ECF 342-1). And even as to that document, there appear to be different drafts and

versions that were before the Corps that were never included in the record. USACE_DAPL

72183-72185 (referring to different spill reports with different titles). Obtaining all of the

different original spill models and their drafts, and assessing how they deviated over time, is

important to the Tribes’ challenge of the Remand Decision.

       Furthermore, a key document in the original administrative record was a lengthy review

compiling and responding to internal technical comments. USACE_DAPL 72161. That

document in turn references several critical comments that bear directly on the adequacy of the

Corps’ analysis. For instance, the document describes a comment from a Corps staff person that

the data in the spill model “does not appear to correlate with Mid-Missouri River SACP [Subarea

Contingency Plan],” noting that the SACP uses a “conservative estimate of 50,800 barrels for a

thirty inch crude oil pipeline—over four times as large as DAPL’s estimate.” Id. 72184. But the

SACP is not in the record. Further, DAPL sent the Corps a document in response to this

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comment, and another one containing a “white paper” on spill prevention and control. Id. The

record did not include any of these attachments either.

       There are other examples. USACE_DAPL 72253 mentions an email from a DAPL

contractor that “provided the rationale for the calculations behind” the WCD volumes—a critical

issue in this case. No such email is in the record. There are various references to a Bakken

“crude composition” analysis that the Corps never produced. RAR 8403; see also FRP at 37.

The record refers to “coordination” with PHMSA, EPA, Coast Guard, and other agencies which

have discussed “high profile spills” near DAPL. USACE_DAPL 72250. But there is no

evidence of any such coordination or communication in the record.

       In terms of completing the record, these are not close calls. The SRST letter identified

specific documents, by date, author, and record citation, that were directly relevant to the Corps’

decision, and that plainly relate to whether the Corps’ original decision was arbitrary and

capricious. Had the Tribes had the opportunity to move to complete the record with these

documents earlier in the litigation, there would be no question that they had satisfied the standard

of “reasonable, non-speculative grounds” that the documents belonged in the record. There is no

basis to exclude them now either. The adequacy of the Remand Decision turns on how well the

Corps grapples with critical issues raised by experts, who have identified major flaws in the

Corps risk analysis and worst case discharge estimates, among other things. The limited earlier

administrative record materials sought in this motion will help the Tribes explain why the Corps’

conclusions on remand ignore critical information and fail to address contrary conclusions. The

Tribes provide a specific list of documents omitted from the original administrative record as

Appendix A to this motion.




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       C.      Documents DAPL Had to Submit Under the Terms of the Easement

       Under the terms of the Corps’ Mineral Leasing Act easement to DAPL, there is an

extensive body of technical information that DAPL is required to submit to the Corps related to

the integrity and ongoing safe operation of the pipeline at Lake Oahe. ECF 96-1 (“Easement”).

For example, DAPL must submit its “operations and maintenance manual.” Id. at 36 (Condition

9); see also RAR 4500. However, no DAPL-specific O&M manual is provided in the record.

The same is true of the requirement to submit a “Risk Assessment (Integrity Management Plan).”

Easement at 36. Instead, the Corps has provided a generic Sunoco integrity management plan

that predates and does not include a word about DAPL. RAR 4743. 4 The Easement further

requires DAPL to submit “as built drawings” for the Lake Oahe crossing to the Corps. 5

Easement at 37 (Condition 11). Either DAPL is out of compliance with these easement

conditions, or the Corps has failed to provide materials that have been provided to it that are

salient to its decision on remand. The Court should direct the Corps to provide the compliant

versions of these documents, if they exist.

       The easement further directs DAPL to submit reports of any “root cause failure analyses”

arising out of hydrostatic testing. Id. (Condition 16). It must provide the Corps with “inspection

reports” from the mandatory cathodic protection system, id. at 39 (Condition 26), as well as

provide an annual report with any deviations from limits imposed to reduce corrosion. Id. at 40



4
 In fact, the independent Audit specifically found that there was no evidence that DAPL had
complied with the obligation that these two easement requirements were met. Audit, at 7-8.
5
  The record contains some documents identified as “as built” drawings at Lake Oahe but they
are completely redacted as “critical infrastructure” data. RAR 4894. This Court has already
rejected the claim that “critical infrastructure” provides a sufficient basis to withhold key
documents related to this project without suitable identification by the appropriate agency. ECF
206 at 5 (information needs to be labeled by Department of Homeland Security). Unredacted
versions of these documents can be provided to the Tribes pursuant to the Protective Order.
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(Condition 32). No such documents appear in the record. This information must have been

before the Corps, since it is required under the terms of the easement and the Audit did not find

any noncompliance as to these standards. Nor can there be any dispute that these documents are

centrally relevant to the issues before the Corps on remand, as they bears on the integrity and

safe operation of the pipeline. It bears noting that the Remand Analysis relies upon the easement

conditions in some of its responses to comments by the Tribes’ experts that the Corps was

required to address in the remand. See, e.g., Remand Analysis, at 117, 122. A list of specific

documents related to the easement conditions that should be included in the Record is provided

in Appendix B below.

       D.      Documents Related to the Independent Third Party Audit.

       On December 4, 2017, this Court issued a decision imposing “interim conditions” on the

operation of the pipeline during the time that the Corps was conducting the remand. ECF 303

(Order) and 304 (Mem. Op.). The Court cited recent crude oil pipeline spills, highlighting how

they can “wreak havoc on nearby communities and ecosystems.” Id. One such interim condition

was the completion of a third-party compliance audit, which had been previously recommended

by PHMSA. The process leading to the selection of the auditor and the conduct of the audit was

deeply flawed, as described in SRST’s Motion for Clarification of Remand Conditions (ECF

336), which was denied as moot shortly after the audit was filed with this Court. ECF 352.

Despite the flaws in both the selection of the auditor and the conduct of the audit, the audit

contains some revealing information that is salient to the Corps’ decision on remand.

       Specifically, the Audit makes repeated references to technical documents that were never

provided to the Tribes nor included in the record. For example, the audit makes reference to a

“pipeline integrity management plan” that was being revised at that time, with an estimated


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completion date of April 2018. Audit, at 20. Similarly, a March 22, 2018 email from DAPL

indicated that “[a]t the time a newly-updated-integrated-combined O&M Manual/Plan becomes

available, DAPL will submit same to the USACE for review and comment, prior to submittal to

PHMSA, consistent with the easement conditions.” RAR 4500. However, the administrative

record does not contain any integrity management plan specific to the pipeline. It contains only

a generic plan, dated June 2015, applicable to all Sunoco-operated pipelines, but no plan specific

to the pipeline itself—despite an explicit statement in the audit and other statements in the record

that one would be prepared and provided to the Corps.

        The audit also discussed an incident where drilling mud breached the containment

facilities and clean-up was in progress. Audit at 4. It refers to a “three-volume report, including

Daily Field Reports” associated with drilling. Id. It also refers to “Environmental Inspection

Reports” which describe this spill incident. Id. at 5. The Audit further refers to welding

inspection reports (id. at 9) and the results of hydrostatic testing (id. at 10).

        None of this information, which bears on the integrity of the pipeline and the safety

processes used to assess it, was included in the administrative record. The materials related to

the spill event documented in the Audit are of particular concern, as the Corps’ failure to account

for the proponent’s abysmal record of environmental compliance and well-established history of

accidents is a key component of the Tribes’ claims on remand. Review of this documentation is

necessary to determine whether the Corps’ conclusions in the Remand Analysis are supported.

A list of all the cited documents sought by the Tribes is included in Appendix C below.

        E.      Final Versions of Key Documents Only Provided in Draft.

        The record contains drafts of what appear to be critical documents, but not final versions.

The Tribes are unable to determine whether the documents were even finalized at all, or whether


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there are documents that should have been included in the record but were not. Specifically, in

the remand package prepared by the Corps, several versions of a draft “technical analysis” of the

three remand issues appear. RAR 990; RAR 2678; RAR 10203. Accompanying this analysis

are various appendices, for example, a table laying out draft responses to comments. RAR 2868.

Appendices A and B to the analysis constitute a series of technical figures and maps, again

labelled as draft. RAR 2895-2909. A separate Appendix C contains additional responses to

comments labeled as drafts. RAR 2910. Final version of these documents do not appear in the

administrative record and should be produced if they exist.

        Additionally, the record contains an unredacted version of the Facility Response Plan

(“FRP”), dated October 2017. RAR 16716. However, SRST has obtained from PHMSA,

through a Freedom of Information Act request, a more up-to-date version of the FRP, dated April

2018, that is materially different and contains information that appears to significantly

undermine the Corps’ conclusions on remand. Submission of updated and final FRPs to the

Corps is a specific requirement of the easement. ECF 96-1 at 36 (Conditions 8 and 10). The

exclusion from the remand record of this final FRP with information contrary to the Corps’

conclusions is deeply problematic. Separately, the record refers to a final “risk analysis” report,

dated May 2016 that is not provided, while an earlier version with a different report number is

included. RAR 9190. The Tribes request that the above described documents be included in a

revised record. 6




6
 In addition to the items described above, it appears that a few documents reflecting
correspondence with the Yankton Sioux Tribe should be in the record are not there. For
example, a letter dated May 2, 2018 from Col. John L. Hudson to Yankton Sioux Tribal
Chairman Robert Flying Hawk does not appear to be in the record anywhere and should be
added. Appendix D contains these missing documents.
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                                           CONCLUSION

       For the foregoing reasons, the Tribes respectfully request that their motion to complete

the record is GRANTED. A proposed order is attached herewith.



       Respectfully submitted this 27th day of February, 2019.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2019, I electronically filed the foregoing MOTION

TO COMPLETE ADMINISTRATIVE RECORD with the Clerk of the Court using the CM/ECF

system, which will send notification of this filing to the attorneys of record and all registered

participants.



                                               /s/ Jan E. Hasselman
                                               Jan E. Hasselman




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  APPENDIX A – DOCUMENTS MISSING FROM ORIGINAL ADMINISTRATIVE
                            RECORD

     DOCUMENT                  SOURCE                       COMMENTS
Original spill model(s)     RAR 6565; RAR
                            12257 ; 2916
Different drafts of spill   USACE_DAPL      Attachment: DAPL- Lake_Oahe_Spill Model
model reports               72183; 72185    Report_2016-04-11.pdf; Attachment:
                                            DAPL_ND_Lake_Oahe_Crossing_
                                            Spill_Model_Discussion_Rev-A.pdf.
Mid-Missouri River           USACE_DAPL
SACP                        72184
“Confidential White         USACE_DAPL      Nov 12 2015 (Attachment:
Paper discussing Federal    72184           Oil_Spill_Planning_White_Paper_11-11-
Spill Prevention and                        15.pdf)
Control Regulation of
Oil Transmission
Pipelines.”
Email dated 4-15-16         USACE_DAPL
from Steve Rowe to the      72253
Corp that provided
DAPL’s rationale for the
Lake Oahe worst case
discharge (WCD)
calculation
Bakken crude                RAR 8403
composition analysis
Correspondence and          USACE DAPL
records related to EPA,     72250-51
PHMSA and US Coast
Guard concerning
“lessons learned” from
recent Bakken oil spills
DAPL quantitative risk      USACE_DAPL
assessment                  74722; RAR
                            14969
Response to Harlon’s        USACE_DAPL      Attached Word document Nov 12 2015
Comments on Spill           72184           (Attachment: Response to Open Harlon
Emergency Response                          Comment ltems (6139320) _11 -11-15.docx
National Preparedness       USACE_DAPL      “The FRP has been updated to include the
for Response Exercise       72263           PREP training and record guide in attachment
Program (PREP)                              H.”
Training and Record
Guide


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Valve Site (LL3453E)      USACE_DAPL         July 7, 2015 (Attachment:
drawing                   72164              Valve_Site_and_Road_Typical_103957~MLV-
                                             ND-160-B_(3).pdf)
Bi-annual risk review     USACE DAPL         “DAPL will also make available the bi-annual
and IMP updates           72185              risk review and IMP updates as appropriate.”
Lake Oahe Boring Logs     RAR 2926           The detailed logs that were used for the April
                                             2015 Appendix B of the July 2016 EA


Ackerman, D.J. 1980. Ground-Water Resources of Morton County,          USACE_DAPL
North Dakota, North Dakota Geological Survey Bulletin 7Z - Part        71355
III, 51pp.
Armstrong, C.A. 1978. Ground-Water Resources of Emmons                 USACE_DAPL
County, North Dakota, North Dakota Geological Survey Bulletin          71355
66-Part III, 43 pp.
Charbeneau, R. J. 2003. Models for Design of Free-Product              USACE_DAPL
Recovery Systems for Petroleum Hydrocarbon Liquids. American           71355
Petroleum Institute, Publication 4729. Washington, D.C. August
2003.
Charbeneau, R. J., R. T. Johns, L. W. Lake, and M. McAdams. 2000.      USACE_DAPL
Free-product recovery of petroleum liquid hydrocarbon liquids.         71355
Ground Water Monitoring and Remediation 20(3):147-158.
Clayton, L. 1980. Geologic Map of North Dakota: USGS, Scale            USACE_DAPL
1:SOOK.                                                                71355
Dickens, D. 2011. Behavior of Oil Spills in Ice and Implications for   USACE_DAPL
Arctic Spill Response. Arctic Technology Conference, Houston,          71356
Texas, February 7-9, 2011.
GeoEngineers. 2014. Preliminary Geology and Geologic Hazards           USACE_DAPL
Evaluation, ETC Dakota Access Pipeline, North Dakota, South            71356
Dakota, Iowa, Illinois, 28 p.
Kerr, J. M., H. R. Melton, S. J. McMillen, R. I. Magaw, and G.         USACE_DAPL
Naughton. 1999. Polyaromatic hydrocarbon content of crude oils         71357
around the world. In: SPE/EPS Exploration and Production
Environmental Conference, SPE 52724 as cited in O'Reilly et al.
2001.
Marathon Oil. 2010. Bakken Oil Storage Tank Emission Models.           USACE_DAPL
Presented by Paul Peacock, March 23, 2010. Internet website:           71357
https://www.ndoil.org/image/cache/Peacock_-
_March_23_2010._ppt.pdf
Muller, H. 1987. Hydrocarbons in the freshwater environment. A         USACE_DAPL
Literature Review. Arch. Hydrobiol. Beih. Ergebn. Limnol 24:1-         71357
69.
Neff, J. M. and J. W. Anderson. 1981. Response of Marine Animals       USACE_DAPL
to Petroleum and Specific Hydrocarbons. Applied Science                71358
Publishers, London. 177 pp.

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North Dakota Department of Health. 2015. North Dakota 2014         USACE_DAPL
Integrated Section 305(b) Water Quality Assessment Report and      71358
Section 303(d) List of Waters Needing Total Maximum Daily
Loads.
Z7_Publications/lntegratedReports/2014_North_Dakota_lntegrated_
Report_Fina1_20150428.pdf.
O’Reilly. 2001. [** Full citation not provided in the EA **]             USACE_DAPL
                                                                         71270
PHMSA dataset from 2002 to 2015 (PHMSA. 2016) [** Citation not           USACE_DAPL
provided in the EA **]                                                   71270
Radbruch-Hall, D.H., R.B. Colton, W.E. Davies, I. Lucchitta, B.A. Skipp, USACE_DAPL
and D.J. Varnes. 1982. Landslide Overview Map of the Conterminous        71359
United States, USGS Landslide Hazards Program. Available at:
http://landslides.usgs.gov/hazards/nationalmap/.
Turner, Mason and Company, 2014. The North Dakota Petroleum              USACE_DAPL
Council Study on Bakken Crude Properties. Prepared for the North         71359
Dakota Petroleum Council.
U.S. Army Corps of Engineers. 2010a. Summary of Engineering Data - USACE_DAPL
Missouri River Main Stem System.                                         71359
U.S. Army Corps of Engineers. 2010. Final Oahe Dam/Lake Oahe             USACE_DAPL
Master Plan: Missouri River, South Dakota and North Dakota. Design       71359
Memorandum MO-224. Omaha District. Omaha, Nebraska.
U.S. Geological Survey. 2014a. North Dakota 2014 Seismic Hazard          USACE_DAPL
Map, USGS Earthquake Hazards Program. Available at:                      71362
http://earthquake.usgs.gov/earthquakes/states/north_dakota/hazards.php
.
USGS. 2016b. National Water Information System data available            USACE_DAPL
on the World Wide Web (USGS Water Data for the Nation),                  71362
accessed May 9, 2016 at
http://nwis.waterdata.usgs.gov/nd/nwis/uv?cb_00060=on&format=g
if_stats&site_no=0634250 O&period=3143&begin_date=2007-
10-0l&end_date=2016-05-09.




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    APPENDIX B – DOCUMENTS DAPL HAD TO SUBMIT UNDER TERMS OF
                            EASEMENT

DAPL-specific Integrity    Easement          “PHMSA requires operating pipelines to
Management Plan            Condition 9.c;    conduct periodic O&M integrity risk
                           USACE DAPL        inspections and analyses and then to prepare
                           72185;            mitigative strategies as necessary. The findings
                           PPIC              of the testing and analysis, and any mitigation
                           Independent       measures, are reported to PHMSA in an
                           Assessment 6-7.   Integrity Management Plan (IMP)…. The
                                             operating pipeline is required to make the IMP
                                             available to PHMSA within one year of
                                             construction…DAPL agrees to a condition of
                                             approval in the Corps easement to make the
                                             IMP available to the USACE.”
DAPL-specific              Easement          Record contains only a generic Sunoco version
Operation and              Condition 9b,     that is not DAPL-specific RAR004499.
Maintenance Manual         PPIC
                           Independent
                           Assessment pp.
                           6-7.
“As built drawings” for    Easement
Lake Oahe crossing.        Condition 11;
                           RAR 4894
                           (redacted
                           drawings).
“Root cause failure        Easement
analyses” arising out of   Condition 16.
hydrostatic testing.

“Inspection reports”       Easement
from the mandatory         Condition 26.
cathodic protection
system,
Annual report with any     Easement
deviations from limits     Condition 32.
imposed to reduce
corrosion.




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     APPENDIX C – DOCUMENTS RELATED TO THE THIRD PARTY AUDIT

Pipeline integrity          Audit at 20
management plan
Three volume drilling       Audit at 4
analysis, including Daily
Field Reports, and
Environmental
Inspections Reports.
Welding Daily               Audit at 9
Inspection Reports
Hydrostatic pressure test   Audit at 10
results
Lake Oahe                   Audit at 20
Supplemental
Documents
Environmental               Audit at 4-8, 15.   The PPIC Independent Assessment on page 5
Inspection Report                               states there was an “Environmental Assessment
(March 24, 2017)                                Report” dated March 24, 2017 that occurred on
                                                Corps land around the drill pad inside the
                                                fencing. The report was referenced in relation
                                                to easement Condition #2 relating to HDD
                                                work and contingency plan “in the event of an
                                                inadvertent release.” This release clearly
                                                occurred on Corps land.
Surge Analysis Report       Audit at 16.        “A surge analysis, which was conducted by
by Fluid Flow                                   Fluid Flow Consultants, with a report issued on
Consultants                                     June 2, 2017 (page 21.2.1 to 21.2.46).”




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    APPENDIX D – DOCUMENTS RELATED TO YANKTON CONSULTATION

DATE              TO                   FROM             DOCUMENT
5/2/18            Robert Flying Hawk   John L. Hudson   Letter regarding YST
                                                        Consultation Protocols
4/20/18 –        Thomas Tracy          Jennifer Baker   Email string regarding YST
8/27/18                                                 Consultation Protocols
5/31/18 (date on Yankton Sioux Tribe   Mike Glason      YST THPO Videography,
Reservation)                           (USACE)          Photography, Audio, and
                                                        Other Recording Permit




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